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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

 XIAFEN CHEN,                               Case No. 1:19-cv-00045

              Plaintiff,                    District Judge Timothy S. Black

       v.

 UNITED STATES OF AMERICA,                  THE UNITED STATES OF
                                            AMERICA’S MOTION TO DISMISS
              Defendant.


      Defendant the United States of America respectfully moves for dismissal of

Plaintiff Xiafen Chen’s Complaint pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure. The Court should dismiss the Complaint because Plaintiff fails to

allege sufficient facts to state a plausible claim for malicious prosecution or false

arrest under applicable law.

      A memorandum in support of this Motion follows.
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                          MEMORANDUM IN SUPPORT

I.     INTRODUCTION

       Plaintiff Xiafen Chen (“Chen”) accessed a restricted, sensitive federal

government database using a colleague’s username and password, downloaded

information from the database without proper authorization, and lied to federal law

enforcement agents. Chen was indicted for those actions by a federal grand jury.

Shortly before trial, after the Court denied Chen’s motion to dismiss the indictment,

the United States exercised its prosecutorial discretion to dismiss the indictment

without prejudice. Chen now seeks monetary damages from the United States for

malicious prosecution and false arrest.

       Chen’s Complaint should be dismissed. Her false arrest claim fails as a

matter of law because she was arrested pursuant to a valid arrest warrant and has

not alleged facts that would demonstrate that the warrant was utterly void. Her

malicious prosecution claim likewise fails as a matter of law because the grand

jury’s indictment and superseding indictment establish a presumption of probable

cause, and she has not pled facts to rebut that presumption. To rebut the

presumption of probable cause, a plaintiff must allege facts demonstrating either

that the grand jury received perjured testimony or that the grand jury proceedings

were substantially irregular. Chen has not pled such facts. Lastly, her malicious

prosecution claim separately fails as a matter of law because the criminal

proceedings were not terminated in her favor.




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II.     FACTUAL AND PROCEDURAL BACKGROUND 1

        The National Weather Service hired Chen in 2007 as a hydrologist at the

Ohio River Forecast Center in Wilmington, Ohio. (ECF No. 1, Compl. ¶30.) The

National Weather Service is a component of the National Oceanic and Atmospheric

Administration, an operating unit of the United States Department of Commerce

(“DOC”).

        In the spring of 2012, Chen travelled to China to visit family. (Id. ¶¶ 27, 39,

48.) During her trip, she met with a former classmate, Jiao Yong. (Id. ¶48.) Jiao

served as a Chinese government official. (Id.) During Chen’s conversation with Jiao,

Jiao asked questions regarding the United States’ dam system and water volume.

(Id. ¶49.) Chen advised Jiao she would find answers to his questions when she

returned to the United States. (Id.)

        Following her return to the United States, Chen attempted to find public

information to answer Jiao’s questions, but the task proved difficult. (Id. ¶50.) As

part of that effort, Chen contacted Deborah Lee, who served as Chief of the Water

Management Division of the U.S. Army Corps of Engineers (the “USACE”). (Id.

¶39.) Chen advised Lee that she had met with Jiao in China, that he had asked her

questions about U.S. dams that she could not answer, and asked if Lee could

provide answers to Jiao’s questions. (Id.) Lee did not provide specific answers to




1The United States disputes that the facts alleged by Chen in her Complaint are accurate or
complete, but the United States recognizes that, for purposes of this Motion, the Court must accept
Chen’s factual allegations as true. Parsons v. U.S. Dep’t of Justice, 801 F.3d 701, 706 (6th Cir. 2015).

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Chen, but Lee was concerned regarding Chen’s inquiries and advised the USACE

Division of Security of her concern. (Id. ¶41.)

      During this time period, Chen also sought, and obtained, access to the

USACE’s National Inventory of Dams (the “NID”). (Id. ¶63.) The NID contains both

information that is publicly available and, separately, information that is available

only to approved governmental users. (See https://www.fema.gov/2018-national-

inventory-dams; see also id. ¶78.) Chen obtained access to the NID using the

username and password of a colleague, Ray Davis. (ECF No. 1, Compl. ¶67.) Chen

asserts that, although she did not have authorized access to the NID or a username

and password to access the database, Davis assisted her to navigate and download

information from the NID database. (Id. ¶69.) Chen asserts that she had job-related

reasons to access and download information from the NID database, but she does

not allege that she sought or received proper authorization to access the secured

database. (Id. at 69–71.)

      In May 2012, Chen sent Jiao four emails, in which she provided him

information she had found online. (Id. ¶¶ 51–52.) Chen’s emails contained only

publicly-available information. (Id. ¶52.)

      In June 2013, Chen was interviewed by two agents from the DOC Office of

Security as part of an investigation into Chen’s actions. (Id. ¶45.) Approximately a

year later, in June 2014, the agents prepared a Report of Investigation (the “ROI”).

(Id. ¶59.) Chen makes no allegation regarding the investigation between the time of

her interview and the preparation of the ROI in June 2014. With regard to the ROI



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itself, however, Chen alleges that the ROI contained the following errors or

omissions: it stated that Chen downloaded information from the NID with the

purpose of sharing secret information with the Chinese government, it omitted that

Davis stated Chen could have had a work-related reason for accessing the NID, it

omitted that Davis shared his username and login to the NID with other employees,

and it stated that Chen had admitted to accessing the NID to find information for

Jiao. (Id. ¶¶ 63–64, 70–79.)

       Chen asserts that the assigned DOC agents knew that the ROI would be

shared with the FBI and federal prosecutors. (Id. ¶¶ 60–61.) Beyond simply sharing

information with the FBI, however, the ROI reflected, under “assignment status,”

that the investigation was “closed” by DOC and “referred” to the FBI. (Exhibit A,

Report of Investigation.) 2 Chen’s Complaint, however, is silent with regard to the

criminal investigation following the ROI. And, Chen makes no allegation of any

misconduct or improprieties by any FBI employee or by federal prosecutors.

       In October 2014, a grand jury returned a four-count indictment. (3:14-cr-149,

ECF No. 5, Indictment.) Chen was indicted by the grand jury on one count of



2 The facts presented in this Motion are derived from Chen’s factual allegations, except where the
United States relies on documents cited in the Complaint, public records, or other information of
which this Court may take judicial notice. Gavitt v. Born, 835 F.3d 623, 640 (6th Cir. 2016) (“[A]
court may consider exhibits attached to the complaint, public records, items appearing in the record
of the case, and exhibits attached to defendant's motion to dismiss, so long as they are referred to in
the complaint and are central to the claims contained therein, without converting the motion to one
for summary judgment.”). The ROI is referred to in the Complaint and is central to Chen’s claims.
The Court may therefore consider the ROI without converting this Motion to a motion for summary
judgment. The ROI, however, is law enforcement sensitive. The United States attaches only the first
page of the ROI at this time, and the United States has redacted substantive investigatory
information from the exhibit. To the extent the United States relies on other portions of the ROI in
subsequent briefing, the United States will, if necessary, seek an appropriate protective order or
move to file appropriate portions of the ROI under seal.

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stealing sensitive and restricted information from the NID (18 U.S.C. § 641), one

count of exceeding authorized access to the NID (18 U.S.C. § 1030(a)(2)), and two

counts of making false representations to investigators (18 U.S.C. § 1001). The false

representation counts arose from Chen’s false statements that she (1) never logged

into the restricted portion of the NID without authorization, and (2) that she never

downloaded data from the NID. (Id.)

      Chen asserts that that the ROI “directly led” to her indictment. (ECF No. 1,

Compl. ¶79.) Chen, however, fails to add detail to this conclusory allegation. Chen

does not explain or allege how the ROI led to her indictment, and she does not

identify what information in the ROI, if any, was presented to the grand jury (or

how that information was presented). Indeed, Chen does not allege that any of the

information in the ROI was specifically conveyed to the grand jury. Chen does allege

(on information and belief) that one or more of the DOC agents testified before the

grand jury, but she does not identify what the agents allegedly testified to, and she

does not allege that their testimony included any of the information in the ROI that

she asserts to be inaccurate. (Id. ¶118.)

      Following Chen’s indictment, the District Court for the Southern District of

Ohio issued an arrest warrant, and Chen was arrested by FBI agents. (Id. ¶85.)

Chen made her initial appearance on the date of her arrest, and she was released

the same day. (Id. ¶¶ 92–93.)

      Approximately three months later, in January 2015, the grand jury returned

a superseding indictment of Chen. (3:14-cr-149, ECF No. 28, Superseding



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Indictment.) The superseding indictment charged Chen with additional criminal

offenses. In the superseding indictment, Chen was charged with one count of

converting sensitive and restricted information from the NID for her own use (18

U.S.C. § 641), two counts of exceeding authorized access to the NID (18 U.S.C.

§ 1030(a)(2)) (the two counts alleged that Chen accessed the NID without

authorization on two separate occasions, five days apart), and five counts of making

false representations to federal agents (18 U.S.C. § 1001). (Id.) The new false

statement counts arose from Chen’s false statements that (1) she never obtained a

co-worker’s personal password to the NID, (2) she never used a co-worker’s personal

password to access the NID, and (3) the last occasion she was approached by Jiao

was in 2011. (Id.)

      Chen’s Complaint is silent regarding the superseding indictment. She does

not make any allegation regarding what additional investigation, if any, led to the

further grand jury proceedings, she does not make any allegation regarding the

further grand jury proceedings themselves, and she does not allege that the ROI

had any connection whatsoever to the further grand jury proceedings. Chen did

move to partially dismiss the superseding indictment during the course of her

criminal proceedings, but her motion was denied. (3:14-cr-149, ECF No. 29, Mot. to

Dismiss & ECF No. 44, Entry & Order.)

      Chen’s Complaint in this lawsuit argues at length that she did not commit

espionage, never conspired with the Chinese government, “never betrayed national

security interests or shared secret information,” and never “accessed the restricted



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NID database to find information for Mr. Jiao.” (ECF No. 1, Compl. ¶¶ 7, 55–56, 64,

78.) Chen, however, was not indicted for espionage, conspiracy, or for providing

sensitive information to Jiao. Rather, she was indicted for accessing a restricted

database without proper authorization, downloading information from the database

without authorization, and lying to federal law enforcement agents about those

actions and her contact with Jiao.

         In March 2015, shortly before trial, the United States moved to dismiss the

indictment. (3:14-cr-149, ECF No. 45, Mot. to Dismiss.) In its motion, the United

States explained that the dismissal was an exercise of the United States’

prosecutorial discretion. (Id.) Chen asserts that, beyond this, the United States

offered “no explanation or apology” for its decision. (ECF No. 1, Compl. ¶13.) The

Court granted the United States’ motion, and dismissed the indictment without

prejudice. (3:14-cr-149, ECF No. 46, Order.)

III.     ARGUMENT

         A.    Ohio Substantive Law Applies to Chen’s Claims for Malicious
               Prosecution and False Arrest.

         The Federal Tort Claims Act (the “FTCA”) “does not create liability, it merely

waives sovereign immunity to the extent that state-law would impose liability on a

private individual in similar circumstances.” Huddleston v. United States, 485 F.

App’x 744, 745 (6th Cir. 2012) (quoting Myers v. United States, 17 F.3d 890, 899 (6th

Cir. 1994)); see also 28 U.S.C. § 2674. For that reason, “[c]ourts applying the FTCA

look to the law of state in which the cause of action arose to determine liability and

damages.” Id.; see also 28 U.S.C. § 1346(b)(1) (limiting liability of the United States


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to “circumstances where the United States, if a private person, would be liable to

the claimant in accordance with the law of the place where the act or omission

occurred”).

      Here, Chen was employed in Ohio, indicted in Ohio, arrested in Ohio, and

prosecuted in Ohio. (See ECF No. 1, Compl. ¶¶ 3, 37, 57, 102.) Chen’s claims for

malicious prosecution and false arrest therefore arose in Ohio, and her claims are

governed by Ohio substantive law.

      B.      Chen’s Complaint Fails to State a Claim for False Arrest.

      Plaintiff’s claim for false arrest fails as a matter of law because she alleges no

defect in the arrest warrant that would render it utterly void. Ohio law is clear that

an arrest executed pursuant to regular, facially-valid process does not support a

claim for false arrest, even if the arrest is alleged to have been instigated

maliciously and without probable cause.

      Under Ohio law, a claim for false arrest requires a plaintiff to show: (1) that

she was intentionally detained by the defendant, and (2) that the detention was

unlawful. Thacker v. City of Columbus, 328 F.3d 244, 261 (6th Cir. 2003). An arrest

warrant issued by a court, however, is a complete defense to an action for false

arrest, unless the warrant is “utterly void.” Voyticky v. Village of Timberlake, 412

F.3d 669, 677 (6th Cir. 2005) (quoting McFarland v. Shirkey, 151 N.E.2d 797, 802

(Ohio Ct. App. 1958)); see also Rogers v. Barbera, 164 N.E.2d 162, 164 (Ohio 1960).

An arrest warrant and supporting indictment is utterly void in only two situations:

(1) if the indictment sets forth facts which could not, in any form, conceivably

constitute a criminal offense or (2) if “the court issuing the process had no
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jurisdiction over such offense or the person charged with the offense.” Friedman v.

United States, 927 F.2d 259, 262–63 (6th Cir. 1991) (quoting Click v. Parrish, 98

N.E.2d 333, 338 (Ohio Ct. App. 1950)); see also Fairbanks v. City of Trenton, No.

1:15-cv-33, 2016 WL 51223, at *2 (S.D. Ohio Jan. 5, 2016). But if the charging

instrument leading to the arrest sets forth an offense under the applicable laws,

“then there is an end to the entire controversy.” Brinkman v. Drolesbaugh, 119 N.E.

451, 453 (Ohio 1918), superseded in part on other grounds by statue, O.R.C.

§ 2743.48. This is true even where the arrest was maliciously instigated without

probable cause based on false charges. Ohio law is clear that in those situations, the

only proper remedy can be a claim for malicious prosecution, and not false arrest:

“[W]here the process on which the arrest is made is regular on its face, but is sued

out maliciously and without probable cause, the remedy is an action for malicious

prosecution.” Rogers, 164 N.E.2d at 164; see also Brinkman, 119 N.E. at 454 (noting

that if an imprisonment is lawful, it does not become any less lawful even if there

existed a “malicious motive, or want of probable cause on the part of the prosecuting

witness, or the officer causing the imprisonment”); Eisnnicher v. Bob Evans Farms

Rest., 310 F. Supp. 2d 936, 957 n.3 (S.D. Ohio 2004) (noting that the “processes and

procedural safeguards attendant to the issuance of a warrant” limit the availability

of false arrest claims where the arrest was made pursuant to a warrant).

      Here, Chen’s false arrest claim fails because she alleges no facts that would

render the arrest warrant void. The Complaint acknowledges that FBI agents

arrested her pursuant to a warrant issued by a federal judge based on a duly-



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returned grand jury indictment that agents read aloud to her at the time of her

arrest. (See ECF No. 1, Compl. ¶¶ 84–86.) The Complaint contains no allegations

that the warrant was substantively or procedurally improper in any way. Relevant

to her false arrest claim, Chen does not allege either that the indictment and

warrant failed to set forth facts which could conceivably constitute a criminal

offense or that the court issuing the warrant lacked jurisdiction over her or the

charged offenses. See Click, 98 N.E.2d at 338. Rather, the facts set forth in the

grand jury indictment conceivably constituted federal criminal offenses over which

the United States District Court for the Southern District of Ohio had jurisdiction.

(See 3:14-cr-149, ECF No. 5, Indictment (charging Plaintiff with violations of 18

U.S.C. §§ 641, 1001 & 1030(a)(2)).) Because the arrest warrant was regular on its

face and not utterly void, it serves as a complete defense to Chen’s claim for false

arrest. Moreover, Ohio law is also clear that the allegations actually underpinning

her false arrest claim—i.e., that DOC agents maliciously prepared an initial referral

that contained false statements eventually leading to Plaintiff’s arrest by FBI

agents over four months later—do not constitute a claim for false arrest. At most,

allegations that a defendant instituted a criminal proceeding out of malice and

without probable but pursuant to lawful process may form the basis for a claim of

malicious prosecution, not false arrest. Rogers, 164 N.E.2d at 164; Walker v.

Kroger’s, No. L-93-162, 1994 WL 159764, at *2 (Ohio Ct. App. Apr. 29, 2014).

Accordingly, the Complaint does not state a claim for false arrest—and for the

reasons noted infra, it does not state claim for malicious prosecution either.



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      C.     Chen’s Complaint Fails to State a Claim for Malicious
             Prosecution.

      Under Ohio law, to prevail on a claim for malicious prosecution, a plaintiff

must establish: (1) a maliciously instituted prior proceeding by the defendant, (2) a

lack of probable cause, and (3) that the prior action was terminated in the plaintiff’s

favor. Friedman, 927 F.2d at 261–62 (citing Rogers, 164 N.E.2d at 162). Malicious

prosecution claims are viewed by Ohio courts with “marked disfavor,” and “courts

have allowed recovery only when the requirements of these actions have been fully

complied with.” Dailey v. First Bank of Ohio, 2005-Ohio-3152, ¶14, 2005 WL

1483678 (Ohio Ct. App. June 23, 2005). The disfavored status of claims for

malicious prosecution under Ohio law reflects a “public policy to discourage lawsuits

which inhibit enforcement of the criminal laws.” Adamson v. May Co., 456 N.E.2d

1212, 1216 (Ohio Ct. App. 1982).

      Chen’s Complaint should be dismissed because (1) the grand jury’s

indictment and superseding indictment establish a presumption of probable cause,

and Chen has not pled sufficient facts to overcome that presumption; and (2) Chen’s

criminal proceedings were not terminated in her favor.

             1.     Chen’s Indictment and Superseding Indictment Establish a
                    Presumption of Probable Cause, and Chen’s Complaint Fails to
                    Allege Sufficient Facts to Overcome that Presumption.

      Under Ohio law, an indictment of the accused by a grand jury is prima facie

evidence that there was probable cause for the prosecution. Adamson, 456 N.E.2d at

1215. Thus, an indictment establishes a “legal presumption” of probable cause,

“unless the . . . grand jury proceeding received perjured testimony or was otherwise


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significantly irregular.” Id.; Reinoehl v. Trinity Universal Ins. Co., 719 N.E.2d 1000,

1007 (Ohio Ct. App. 1998); Pierce v. Woyma, 2012-Ohio-3947, 2012 WL 3758631, *4

(Ohio Ct. App. Aug. 30, 2012); Carlton v. Davisson, 662 N.E.2d 1112, 1121 (Ohio Ct.

App. 1995). This rule reflects a long-standing judicial experience that grand juries

“are reasonably well devised to find whether probable cause exists for the

prosecution.” Adamson, 456 N.E.2d at 1216.

      The Sixth Circuit addressed this issue in Friedman v. United States. In

Friedman, the plaintiff was indicted by a federal grand jury for embezzlement, and

was convicted at trial. 927 F.2d at 261. On appeal, the plaintiff was granted a new

trial. Id. Following that decision, the United States moved to dismiss the

indictment, and the motion was granted by the district court with prejudice. Id. The

plaintiff then filed suit against the United States, raising claims under the FTCA

for malicious prosecution and false arrest. Id. With regard to his malicious

prosecution claim, the plaintiff asserted that “if information held by the United

States had been given to the grand jury, probable cause would not have existed.” Id.

at 262. The plaintiff, however, did not allege that any witness had offered perjured

testimony to the grand jury, and the plaintiff did not allege that the grand jury

proceedings were procedurally irregular. The United States moved to dismiss, the

district court granted the United States’ motion, and the Sixth Circuit affirmed. The

Sixth Circuit explained that “[t]he return of an indictment by the grand jury is

evidence of probable cause, and the plaintiff has the burden of producing

substantial evidence to establish a lack of probable cause.” Id. The Sixth Circuit



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further explained that the plaintiff had failed to allege sufficient facts to

demonstrate that he could “rebut the presumption” established by the indictment,

and that dismissal of the Complaint was therefore required. Id.

       Chen acknowledges that she was indicted by a federal grand jury prior to her

arrest. (ECF No. 1, Compl. ¶57; see also 3:14-cr-149, ECF No. 5, Indictment & No.

28, Superseding Indictment.) With regard to the indictment, Chen alleges that the

ROI “laid the foundation” for and “directly led” to the indictment. (ECF No. 1,

Compl. ¶¶ 10, 79, 116.) Chen, however, does not allege how the ROI provided a

foundation for the indictment, how the ROI led to the indictment, or whether any

allegedly false statements were made to (or allegedly false information provided to)

the grand jury. Similarly, although Chen alleges (on information and belief) that

one or more of the DOC agents testified before the grand jury, she does not identify

what the agents allegedly testified to, and she does not allege that their testimony

included any of the information in the ROI that she asserts to be inaccurate. (Id.

¶118.) 3 Most importantly, Chen never alleges that the DOC agents—or anyone

else—offered perjured testimony to the grand jury. Further, Chen makes no

allegations at all regarding the grand jury’s superseding indictment. For these



3 Chen’s allegation that a piece of information is included in the ROI does not itself make it
inescapable that the same information was presented to the grand jury, or that the information was
presented to the grand jury in the same manner as in the ROI. The determination of what witnesses
and documents to present to the grand jury rested with the assigned Assistant United States
Attorneys. Moreover, as discussed previously, the ROI did not necessarily reflect the final findings of
the United States’ investigation of Chen. As Chen notes in her Complaint, the FBI was the agency
responsible for her indictment and arrest. (ECF No.1, Compl. ¶¶ 10, 37, 60, 84, 88.) The ROI
reflected that the investigation was closed by the DOC and referred to the FBI. (Exhibit A, Report of
Investigation.) Chen does not allege how the information from the ROI was utilized by FBI, what
further investigation was done following the transfer of the investigation to the FBI, or what
information from the ROI, if any, was presented to the grand jury.

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reasons, Chen’s Complaint fails satisfy her burden to plausibly allege that the

grand jury’s indictment and superseding indictment were the product of perjured

testimony.

      Chen’s allegations regarding the ROI are also insufficient because her

allegations are wholly disconnected from the actual criminal charges for which she

was indicted. For example, Chen asserts that the ROI falsely accused Chen of

accessing the NID for the purpose of sharing sensitive information with the Chinese

government. (ECF No. 1, Compl. ¶¶ 63–64.) Chen also repeatedly asserts that an

“alleged conspiracy” between her and the Chinese government did not exist, and

that she was not acting as a spy for the Chinese government. (Id. ¶¶ 43, 56.) Chen,

however, was not indicted for espionage, conspiracy, or for accessing the NID for the

purpose of sharing sensitive information with the Chinese government. Rather, she

was indicted for improperly accessing the NID, improperly downloading information

from the database, and for making false statements to investigators about her

access to the NID and her contact with a Chinese government official. (3:14-cr-149,

ECF No. 28, Superseding Indictment.)

      Chen similarly alleges that the ROI wrongfully omitted that she did not

share the information downloaded from the NID. (ECF No. 1, Compl. ¶70.) Chen,

however, was not indicted for sharing information from the NID. None of the

charges against Chen were premised upon a factual allegation that she had shared

information from the NID with Jiao—or anyone else. And, none of the charges




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against Chen required the United States to prove, as an element of the offense, that

Chen had disseminated information for the NID to others.

      Chen makes this same error in alleging that the ROI omitted statements by

Davis that the NID “could have been useful and helpful” to Chen in her job, and

that Davis allowed other individuals to access the NID using his username and

password. (ECF No. 1, Compl. ¶¶ 71–75.) Here again, whether the information in

the NID could potentially be useful to Chen is irrelevant to whether she improperly

obtained access to the database by using a co-worker’s login information, improperly

downloaded information from the database, and made false statements to

investigators. And, whether other federal employees also obtained unauthorized

access to the NID is wholly irrelevant to the charges against Chen.

      The United States offers one final example. In Count 8 of the superseding

indictment, Chen was indicted under 18 U.S.C. § 1001(a)(2) for falsely asserting to

investigators that Jiao last approached her in 2011. (3:14-cr-149, ECF No. 28,

Superseding Indictment.) Chen’s Complaint is silent as to the facts underlying this

charge. Chen does not allege that agents falsely asserted she made this statement,

does not deny she made the statement, and does not deny that the statement was

false. To the contrary, the allegations in Chen’s Complaint implicitly concede that

her statement was indeed false. Her Complaint alleges—in direct contradiction to

her statement to investigators that Jiao last approached her in 2011—that she

travelled to China in the spring of 2012, met with Jiao, and sent him four emails

upon her return to the United States in May 2012. (ECF No. 1, Compl. ¶¶ 48–51.)



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        Finally, Chen’s malicious prosecution claim fails as a matter of law because

she fails to allege that the grand jury proceedings were substantially irregular.

Chen’s Complaint is silent on this issue, and the indictments themselves do not

demonstrate any procedural irregularities. To the contrary, the indictments display

all the hallmarks of procedural regularity. The indictments properly identify the

charges against Chen and the basis for those charges, and the indictments are

signed by the foreperson of the grand jury. That Chen may not possess a copy of the

grand jury transcript does not obviate her obligation to plead, with appropriate

specificity, that the grand jury proceedings were substantially irregular. See Dailey,

2005 WL 1483678, at *5 (“However, because the grand jury proceeding transcript is

not in the record on appeal, there is no evidence that the grand jury proceeding was

irregular. Accordingly, we look only to see if appellant met her burden of producing

‘substantial evidence’ that the indictment resulted from perjured testimony.”)4

        For all of these reasons, Chen fails to plead facts sufficient to overcome the

presumption of probable cause established by the grand jury indictment and

superseding indictment. Her Complaint should be dismissed.




4 Counsel for the United States in this action have not reviewed a copy of the grand jury transcript.
Although the plain language of Rule 6 of the Federal Rules of Criminal Procedure provides an
exemption to grand jury secrecy for “an attorney for the government . . . in performing that attorney’s
duty,” the Supreme Court has held that the exemption does not apply to civil attorneys employed by
the Department of Justice, if the information is to be used in furtherance of a civil action. See United
States v. Sells Eng’g, Inc., 463 U.S. 418 (1983).

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              2.    Plaintiff’s Claim for Malicious Prosecution Fails Because the
                    Criminal Proceedings Were Not Terminated in Her Favor.

      Plaintiff’s malicious prosecution claim also fails as a matter of law because

the underlying criminal proceedings were not terminated in her favor. The United

States Attorney exercised his prosecutorial discretion to dismiss the charges

without prejudice. The dismissal was not an adjudication on the merits in Plaintiff’s

favor, did not indicate that Plaintiff was innocent, and did not absolve her of any

wrongdoing.

      Ohio law provides that a “proceeding is terminated in favor of the accused

only when its final disposition indicates that the accused is innocent.” Ash v. Ash,

651 N.E.2d 945, 947 (Ohio 1995). A plaintiff must demonstrate that “that the

charges were actually adjudicated on the merits in [plaintiff’s] favor” and that the

plaintiff “was absolved of any wrongdoing.” Palshook v. Jarret, 32 F. App’x 732, 736

(6th Cir. 2002) (unpublished opinion). While an “unconditional, unilateral dismissal

of criminal charges or an abandonment of a prosecution by the prosecutor” may

constitute a termination in favor of the accused, see Ash, 651 N.E.2d at 948, a

dismissal without prejudice that permits the refiling of criminal charges does not

constitute an unconditional dismissal or support a later claim for malicious

prosecution. Broadnax v. Green Credit Svc., 694 N.E.2d 167, 172 (Ohio Ct. App.

1997); see also Buchanan v. Reeve, No. 1:03-CV-751, 2005 WL 1652188, at *8 (S.D.

Ohio Apr. 8, 2005), report and recommendation adopted by, 2005 WL 1652241 (S.D.

Ohio July 12, 2005); Taylor v. Montoya, No. 1:11-cv-1901, 2012 WL 2120716, at *6




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(N.D. Ohio June 8, 2012) (holding that a Rule 48 dismissal after accused’s lawyer

had uncovered favorable information was not a termination in the accused’s favor).

       Here, the United States Attorney’s discretionary decision to dismiss the

charges without prejudice was not an adjudication in Plaintiff’s favor on the merits

that absolved her of any wrongdoing. First, this final disposition in no way

indicated that Plaintiff was innocent of the charges. Plaintiff does not allege any

adjudication on the merits in her favor, and the government’s motion to dismiss

clearly provides that dismissal was the result of prosecutorial discretion, rather

than an adjudication on the merits. (See 3:14-cr-149, ECF No. 45, Mot. to Dismiss at

PageID ## 312–13 (“Here, the United States elects to exercise its discretion and

discontinue prosecution of this case.”).) Moreover, nothing in the record or Plaintiff’s

allegations suggests any determination, formal or informal, that Plaintiff was

innocent. The superseding indictment had already survived Plaintiff’s partial

motion to dismiss, and trial had not yet commenced. Cf. Taylor, 2012 WL 2120716,

at *6 (holding no termination in accused’s favor where U.S. Attorney dismissed

indictment pre-trial). Nor does Plaintiff allege any statements by the prosecution or

the court suggesting any belief or concern that Plaintiff might be innocent. Rather,

the Complaint notes to the contrary that the United States Attorney “offered no

explanation or apology”—which is wholly consistent with the fact that this was not

a termination in Plaintiff’s favor. 5 (See ECF No. 1, Compl. ¶103.)


5But even if Chen had alleged that the U.S. Attorney expressed concerns about the merits of the
case, the allegation would be insufficient to plead that the voluntary dismissal was a termination in
her favor. Courts have repeatedly held that voluntary dismissals do not qualify as terminations in an
accused’s favor even when based on concerns about the merits of a case. For instance, in Taylor v.

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         Second, because the dismissal was without prejudice, it was not an

unconditional, unilateral dismissal or an abandonment of the prosecution. Unless a

contrary intent is expressed, Rule 48(a) dismissals are without prejudice to a

subsequent indictment. See United States v. Newsome, 887 F.2d 1088 (6th Cir.

1989) (per curium) (unpublished table opinion) (“The government is normally free to

dismiss one indictment and bring another indictment based on further development

of the case under Fed.R.Crim.P. 48(a).” (citing United States v. Mendendall, 597

F.2d 639, 641 (8th Cir. 1979))); see also United States v. Evers, 552 F.2d 1119, 1123

(5th Cir. 1977); United States v. Guron, No. 1:08-cr-119, 2010 WL 2232269, at *4

(W.D. Mich. June 3, 2010) (collecting cases); 3B Wright et al., Federal Practice and

Procedure § 801 (4th ed. 2013). The dismissal here indicated no intent that it should

be with prejudice. Accordingly, it does not satisfy the elements of a malicious

prosecution. See Broadnax, 694 N.E.2d at 172; Buchanan, 2005 WL 1652188, at *8.

IV.      CONCLUSION

         For the above reasons, the United States respectfully requests that the Court

dismiss the Complaint in this lawsuit with prejudice.




Montoya, the U.S. Attorney for the Northern District of Ohio dismissed an indictment after the
accused’s counsel diligently uncovered exculpatory evidence that had not been presented to the
grand jury. 2012 WL 2120716, at *1, 6. Even though the judge overseeing the criminal proceeding
indicated on the record that the prosecutor had “done the right thing,” the dismissal did not
constitute a termination on the merits in the plaintiff’s favor, and the court dismissed plaintiff’s
subsequent malicious prosecution claim. Id.; see also Broadnax, 694 N.E.2d at 172 (dismissal of
charges without prejudice because judge had concerns about the case did not qualify as termination
in accused’s favor). Here, Plaintiff’s allegations do not even rise to the level of allegations in Taylor or
Broadnax, let alone to the level required to support a claim for malicious prosecution.

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                                        Respectfully submitted,


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                           CERTIFICATE OF SERVICE
       I hereby certify that on this 26th day of April, 2019, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which serves copies to

all parties of record.

                                               s/Matthew J. Horwitz
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